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  Quinan, Robert (AGO)

   From: Ouinan, Robert (AGO)
   Sent: Monday, June 30, 2008 10:04 AM
   To: 'Leah Barrault
   Subject: Lopez v. HRD -- discovery
   Attachments: Sgt03AexamdataA20080604.xls; SgtA2003-2004Aaggregate_data. pdf; stats_ 03-
                         07 _sgt_candidates.pdf

Hi, Leah-

Perhaps we have each been waiting on the other regarding further discovery in this case. I had thought that you
might have contacted me by now to gain access to the documents HRD is supposed to produce in response to
Judge Tauro's order, since most of them require on-site review here at One Ashburton Place. I have had copies
of the smaller number of documents plaintiffs are permitted to retain under the order ready for you for some time
now. Some data reports, however, are available electronically and I am going to begin to send them to you as
attachments to emails. So as not to send overlarge emails, I will send each report separately or in smaller
groups. The first attachment here is an Excel spreadsheet containing all data requested in paragraphs 1 and 2 of
the Joint Proposed Order on Document Discovery relating to the 2003 police sergeant promotional exam
administered by HRD. I am also attaching documents containing either statistics relating to the 2003 and 2004
applicants or providing aggregate data for all those who have sat for HRD sergeant promotional examinations
within the past five years. The next email                    I send you will contain relevant data pertaining to the 2004 police
sergeant promotional exam administered by HRD. Then I'LL send you                          data regarding the answers picked by each
test-taker for the exams administered in 2005, 2006, and 2007.

Please let me know when it would be convenient for one of the plaintiffs' attorneys and/or plaintiffs' expert witness
to come over and review the confidential documents that HRD is to make available pursuant to Judge Tauro's
order. And let me know if you would like to pick up copies of the non-confidential documents or have me mail
them to you.

Any sense of when the plaintiffs will be ready to produce the documents called for in paragraphs 27-35 of the
court's discovery order?

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